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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 HOT SPRINGS DIVISION


JAMIE GLENN FINLEY (a/k/a Possum)                                                    PLAINTIFF


v.                                    Case No. 6:23-cv-06110


TURNKEY MEDICAL STAFF;
TURNKEY MEDICAL DENTAL STAFF;
and TURNKEY HEALTH CLINICS LLC                                                   DEFENDANTS

                                             ORDER

       Before the Court is the Report and Recommendation filed January 30, 2025, by the

Honorable Barry A. Bryant, United States Magistrate Judge for the Western District of Arkansas.

(ECF No. 47). Judge Bryant recommends that Plaintiff’s Revised Fourth Amended Complaint be

dismissed without prejudice for failure to comply with the Court’s Local Rules and Orders, and

failure to prosecute this case.

       Plaintiff has not responded and the time to do so has passed. See 28 U.S.C. § 636(b)(1).

Upon review, finding no clear error on the face of the record and that Judge Bryant’s reasoning is

sound, the Court adopts the Report and Recommendation (ECF No. 47) in toto. Accordingly, the

Court finds that Plaintiff’s Revised Fourth Amended Complaint (ECF No. 30) should be and

hereby is DISMISSED WITHOUT PREJUDICE for failure to comply with the Court’s Local

Rules and Orders, and for failure to prosecute this case.

       IT IS SO ORDERED, this 6th day of March, 2025.

                                                            /s/ Susan O. Hickey
                                                            Susan O. Hickey
                                                            Chief United States District Judge
